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IN THE UNITED STATES DISTRICT COURT FOR THE]SAU \"\\\
WESTERN DISTRICT OF TENNESSEE 623 QO_
WESTERN DIVISION P” /:
tang ."i“<é<»§@
DIANE FARIA, fig LMC?§C'.I;§?‘U/W.

Plaintiff,

vS.
NO. 05-2405-T/V

JO ANNE B. BARNHART,
COMMISSIONER OF SOCIAL SECURITY,

Defendant.

 

ORDER ALLOWING PLAINTIFF TO AMEND COMPLAINT AND
GRANTING PLAINTIFF UNTIL AUGUST 30, 2005 TO FILE BRIEF

 

lt appearing to the Court for good cause shown that the Plaintiff is allowed to amend
her Cornplaint and She is given until August 30, 2005 to file her brief in Support of her claim

for benefits.

,,J
lt SO Ordered this 223 / day dwi , 2005.

CHIEVUDGE JAMES D. TODD

Approved:

 

§ugene C. Gaerig, Attorney for Plaintiff

 

Joe Dycus, Attorney for Defendant

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with Ru|e 58 and,’or_79 (a) FFICP on

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Notice of Distribution

This notice confirms a copy of the document docketed as number 18 in
case 2:05-CV-02405 Was distributed by faX, mail, or direct printing on
August 24, 2005 to the parties listed.

 

 

Eugene C. Gaerig

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Honorable J ames Todd
US DISTRICT COURT

